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                                                                        Ex. A-1

                               Jessica DeRubbio, et al. v. Islamic Republic of Iran, No. 1:18-cv-05306 (GBD) (SN)

                                               (Alphabetically by Last Name of 9/11 Decedent)

                   DECEDENT                                PLAINTIFF                               Relationship   SOLATIUM
     DECEDENT                    DECEDENT     PLAINTIFF                    PLAINTIFF   PLAINTIFF                                     PLACE OF
                    Middle                                  Middle                                   to 9/11      DAMAGES
     First Name                  Last Name    First Name                   Last Name     Suffix                                       INJURY
                     Name                                    Name                                   Decedent       AMOUNT
                                                                                                                                    World Trade
1.    Godwin        Orville        Forde        Elaine                      Cunnea                   Sibling        $4,250,000.00     Center
                                                                                                                                    (New York)
                                                                                                                                    World Trade
2.    Godwin        Orville        Forde       Dorepha     Evangeline        Forde                   Parent         $8,500,000.00     Center
                                                                                                                                    (New York)
                                                                                                                                    World Trade
3.    Godwin        Orville        Forde        Dorna                        Forde                   Sibling        $4,250,000.00     Center
                                                                                                                                    (New York)
                                                                                                                                    World Trade
4.    Godwin        Orville        Forde       Dorolyne                      Forde                   Sibling        $4,250,000.00     Center
                                                                                                                                    (New York)
                                                                                                                                    World Trade
5.    Godwin        Orville        Forde      Raymond                        Forde                   Sibling        $4,250,000.00     Center
                                                                                                                                    (New York)
                                                                                                                                    World Trade
6.    Godwin        Orville        Forde        Myrna                       Thomas                   Sibling        $4,250,000.00     Center
                                                                                                                                    (New York)
                                                                                                                                    World Trade
7.    Wilder          A.           Gomez       Tatiana         R.           Gomez                    Spouse       $12,500,000.00      Center
                                                                                                                                    (New York)
                                                                                                                                    World Trade
8.     Ramzi          A.           Doany       Camille                      Doany                    Sibling        $4,250,000.00     Center
                                                                                                                                    (New York)
                                                                                                                                    World Trade
9.     Ramzi          A.           Doany       Ibrahim                      Doany                    Sibling        $4,250,000.00     Center
                                                                                                                                    (New York)




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                   DECEDENT                            PLAINTIFF                           Relationship   SOLATIUM
      DECEDENT                DECEDENT    PLAINTIFF                PLAINTIFF   PLAINTIFF                                    PLACE OF
                    Middle                              Middle                               to 9/11      DAMAGES
      First Name              Last Name   First Name               Last Name     Suffix                                      INJURY
                     Name                                Name                               Decedent       AMOUNT
                                                                                                                           World Trade
10.    Gricelda       E.       James        Jairo                   Castro                    Child        $8,500,000.00     Center
                                                                                                                           (New York)


      TOTAL                                                                                               $59,250,000.00




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